
*295OPINION.
Teussell :
The petitioner contends that under the peculiar circumstances surrounding its method of accounting, it did not actually make an election as to how it would treat bad debts until it set up a reserve therefor during its fiscal year ended June 30, 1923, and that it is entitled to a deduction in the amount of the reserve set up for each of the years in controversy.
Section 234 (a) (5) of the Revenue Acts of 1924 and 1926 provides that there shall be allowed as a deduction from gross income:
(5) Debts ascertained to be worthless and charged off within the taxable year (or in the discretion of the Commissioner, a reasonable addition to a *296reserve for bad de.bts); and when satisfied that a debt is recoverable only in part, the Commissioner may allow such debt to be charged off in part.
The said revenue acts require that a reserve or an addition thereto for bad debts must be reasonable and the reasonableness of the reserves claimed by petitioner must be considered. The record in this proceeding does not establish that the reserves claimed were reasonable nor do the facts of record enable us to determine what would constitute a reasonable reserve and reasonable additions thereto for this petitioner’s business. Accordingly, it is not necessary for us to pass upon the issue as to whether petitioner in 1922 made an election to charge oif actual bad debts. The respondent’s determination as to this issue will not be disturbed.

Judgment will be entered pursuant to Bule 50.

